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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                        STEVEN MACLEAN, PH.D. FOR WAVE 6

          Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert

motion filed against Steven MacLean for Ethicon Waves 1 and 3, Dkts. 2205 and 2825

(motions), 2206 and 2826 (memorandums in support). Plaintiffs respectfully request that the

Court exclude Steven MacLean’s testimony, for the reasons expressed in the Waves 1 and 3

briefing. This notice applies to the following Wave 6 cases identified in Exhibit A attached

hereto.

Dated: October 20, 2017                                  Respectfully submitted,
                                                         /s/ D. Renee Baggett
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                               EXHIBIT A

Zember, Cynthia             2:12-CV-08211
Felter, Diane               2:12-cv-08359
Murray-Hockey, Barbara      2:12-cv-08548
Ballesteros, Christine      2:12-cv-08919
Brown, Kelly                2:12-cv-08920
Cikota, Lisa                2:12-cv-08921
Gilsdorf, Roi               2:12-cv-08924
Koch, Patricia              2:12-cv-08926
Ward, Karrie                2:12-cv-08928
Ellis, Margo                2:12-cv-09097
Whitmire, Debra             2:12-cv-09099
Beckley, Geraldine          2:12-cv-09257
Longo, Helen D.             2:12-cv-09266
Ingram, Lisa Schneeberger   2:12-cv-09300
Aguilera, Kimberly          2:12-cv-09418
VanNostrand, Pamela         2:12-cv-09426
Maul, Elba                  2:12-cv-09708
Cayer, Diane                2:12-cv-09976
Jacobs, Patricia            2:12-cv-9034
Heatherman, Christine       2:12-cv-9245
Finnegan, Crystal Lynn      2:13-cv-00059
Eisenberg, Laurie           2:13-cv-00252
Putano, Shannon             2:13-cv-00275
Baylish, Linda              2:13-cv-00490
Davis, Sylvia               2:13-cv-00574
Wright, Joyce               2:13-cv-00746
Brucker, Terri              2:13-cv-01026
Hazard, Dolores             2:13-CV-01132
Romero, Linda               2:13-cv-01294
Vaughan, Joyce              2:13-cv-01338
Boykin, Bethanelle          2:13-cv-01348
Meade, Deborah              2:13-cv-01744
Crane, Regina               2:13-cv-01746
Heady (Gagnon), Kristin     2:13-cv-01747
Poole, Rebecca              2:13-cv-01844
Roberson, Constance         2:13-cv-01848
Grizzle Hagans, Angela      2:13-cv-01954
Volpe, Patricia             2:13-cv-02051
Leinemann, Eileen           2:13-cv-02054
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Bradley, Beth Ann          2:13-cv-02058
McWherter, Jackie          2:13-cv-02067
Skebey, Marilyn            2:13-cv-02129
Belisle, Julie             2:13-cv-02317
Bentzinger, Tamara         2:13-cv-02318
Burge, Lois                2:13-cv-02321
Melton, Donna              2:13-cv-02327
Dillbeck, Tammy            2:13-cv-02638
Lombardo, April            2:13-cv-02640
Wright, Joanne             2:13-cv-02647
Hanrihan, Gaynel           2:13-cv-02651




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



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